
*418OPINION.
1. In his income-tax return for 1919 petitioner accounted for a profit of $814.66 from the syndicate transaction by which he received 184 shares of stock of the Emerald Petroleum Co., his investment in the syndicate being $1,200. The respondent has determined that the fair market value of the shares of stock received was $20 per share and has computed a profit of $2,480 from the transaction. The basis for this computation is the sale by the syndicate to the syndicate members and their friends of shares of stock at the price indicated. We have no evidence that the petitioner could not readily have sold his shares of stock at a price of $20 per share at the date of receipt. For lack of proof that the respondent erred in his determination that the fair market value of the shares was $20 per share at date of receipt, the determination of the respondent upon this point is approved. Cf. George H. Wheary, 5 B. T. A. 829; Cuba Grapefruit Co., 6 B. T. A. 260.
*4192. The parties have stipulated with respect to the second allegation of error, facts concerning which are set forth under paragraph (2) of the findings of fact, that the petitioner sustained a loss of $3,711.15 on the transaction.
3. The petitioner and the respondent have likewise stipulated with respect to the third allegation of error, which is concerned with the profit realized upon the sale of a residential property in Washington, Pa., that the petitioner realized a profit of $166.67 in 1919.
Judgment will be entered on 15 days’ notice, wider Bule 50.
Considered by Littleton and Love.
